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                                      UNITED STATES DISTRICT COURT
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                                 SOUTHERN DISTRICT OF CALIFORNIA
    6
         UNITED STATES OF AMERICA,                          Case No.: 14-CR-2092-BTM-2
    7
                                  Plaintiff,
    8
                                                            ORDER AND JUDGMENT TO
               v.
    9                                                       DISMISS WITHOUT PREJUDICE
   10    SYLVIA MANZANO (2),

   11                             Defendant.

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   14          Upon   motion     of    the   United    States   of   America      and   good     cause

   15    appearing,                                       ..... t.-,~ fir{'..
W              IT   IS HEREBY ORDERED that            th;z::.~i~ the above-entitled
~. 17    case be dismissed without           prejudice~ ~~ 01~~)
   18          IT IS SO ORDERED.                                                        t7
   19    DATED: October          , 2014.
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                                                       H~~~'n~~~=~~:----
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                                                       Chief Judge
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